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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


MONICA FARES, SUZANNE                     )
WINOKUR, and GIL WINOKUR,                 )
individually and on behalf of             )
all others similarly situated,            )
                                          )
                     Plaintiffs, 1        )
                                          )
       vs.                                )             Case No. 24 C 4878
                                          )
CHAR-BROIL, LLC,                          )
                                          )
                     Defendant.           )


                        MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       Plaintiffs Monica Fares and Suzanne and Gil Winokur purchased Char-Broil

digital smoker grills after learning about the product's claimed easy and hands-off user

experience. But they soon learned the products were defective. Fares and Mr. Winokur

experienced electric shocks on multiple occasions when using their grills. Plaintiffs then

learned that the Consumer Product Safety Commission had issued a recall for certain

models of Char-Broil digital smokers, including the models they had purchased.

Plaintiffs participated in the recall process and received repair kits. They contend,

however, that the repair was ineffective and that their grills remained dysfunctional with

safety defects.



1 The Winokurs previously filed a separate lawsuit that was transferred to this district

and was then consolidated with Fares' case filed in this district. The Winokurs' separate
lawsuit was then terminated due to the consolidation. The Court has therefore added
the Winokurs to the caption in the present case.
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       Plaintiffs have sued Char-Broil on behalf of a putative nationwide class of

customers who purchased the recalled models of the digital smoker grills. They assert

claims for breach of the implied warranty of merchantability (count 1), violation of

various state consumer fraud acts (count 2), violation of the Illinois Consumer Fraud

and Deceptive Practices Act (count 3), unjust enrichment (count 4), breach of express

warranty (counts 5 and 8), and violation of New York General Business Law Sections

349 and 350 (counts 6 and 7).

       Defendant Char-Broil has moved to dismiss all of the plaintiffs' claims.

                                         Background

       Char-Broil develops and sells outdoor cooking products, including digital electric

smokers. Monica Fares and Suzanne and Gil Winokur purchased Char-Broil smokers

at different times.

       Fares, who lives in Lake Villa, Illinois, purchased via Amazon.com a Deluxe

Black Digital Electric Smoker (model number 19202101) on May 9, 2023 for $349.99,

plus tax. A few years earlier, on October 7, 2019, the Winokurs also purchased via

Amazon.com a Char-Broil Electric Smoker (model number 14202002) for $123.19 plus

tax, for a total of $134.12.

       Fares alleges that before purchasing the grill, she viewed "information about the

[grill] on Amazon.com, on marketing material, and on the [grill's] packaging and labeling,

including safety information." Am. Consol. Compl. ¶ 76 (hereafter "Compl."). Similarly,

the Winokurs reviewed information about the product before purchasing it, including its

attached safety information. Id. ¶ 97.

       Both of the grills had defects that caused Fares and the Winokurs to experience



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electric shocks multiple times when using them. They were not alone in experiencing

these problems. On or about February 15, 2024, the U.S. Consumer Product Safety

Commission (CPSC) announced a safety recall for Char-Broil's digital electric smokers

due to the risk of electric shocks they posed to consumers. By that time, Char-Broil had

received at least seventy-nine complaints from consumers who had experienced electric

shocks when using the grills. Char-Broil proceeded to issue a recall notice and offered

customers the option of ordering a free repair kit. The repair kit included a ground fault

circuit interrupter plug (GFCI), a clamshell enclosure, and a cable clamp. Customers

were told to test the GFCI plug each and every time before using the smoker. Id. ¶¶ 60-

61.

        After experiencing the shocks, the Winokurs called Char-Broil to report the

malfunction, and the company's customer service team opened a case file to help

resolve the issue. The Winokurs learned about the recall from an Amazon Product

Safety team on February 15, 2024. They participated in the recall in or about May

2024. But they allege that the repair kit did not fix the grill's problems, and they say they

are still unable to use the grill due to safety defects.

        Fares also participated in the recall and received her repair kit in April 2024. She

says, however, that when she attempted to plug in the repair kit's electrical adapter, it

blew a fuse at the outlet, which she says left the product unsafe to use.

        Plaintiffs allege that Char-Broil marketed the smokers on various websites and

product descriptions as offering a "set and forget" experience for consumers, promising

easy-to-use smokers that the user would not need to monitor. Id. ¶¶ 4, 44, 46. They

contend that they relied on these representations in purchasing the products and would



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not have bought them otherwise.

       Plaintiffs have sued Char-Broil on behalf of a putative class of similarly situated

persons. First, they allege that Char-Broil breached the implied warranty of

merchantability because the grills had safety defects despite Char-Broil advertising the

grills as free from defects and fit for their ordinary purpose (count 1). Second, they

allege violations of state consumer fraud laws, alleging that Char-Broil engaged in

deceptive and/or unfair conduct by making deceptive representations and omissions

regarding the safety and utility of the digital electric smokers and the suggested repair

kits (count 2). Third, plaintiffs contend that Char-Broil violated the Illinois Consumer

Fraud and Deceptive Practices Act (ICFA) by engaging in unfair and deceptive conduct

and advertising the digital electric smokers as having characteristics they did not include

(count 3). Fourth, they seek restitution based on Char-Broil's alleged unjust enrichment

from selling defective products (count 4). Fifth, plaintiffs sue for breach of express

warranties (Counts 5 and 8). Sixth and lastly, they allege violations of New York

General Business Law Sections 349 and 350 (Count 6 and 7).

                                        Discussion

       In its motion to dismiss, Char-Broil cites six grounds. First, it argues that this

Court should invoke the doctrine of primary jurisdiction and dismiss plaintiffs' claims in

favor of any remedies available via the CPSC. Second, Char-Broil argues that a

disclaimer in its express warranty bars plaintiffs' implied warranty claims. Third, it

argues that plaintiffs' express warranty claims fall short because it complied with the

terms of the written warranty. Fourth, Char-Broil argues that plaintiffs' ICFA claim

should be dismissed because they did not plead it with the requisite particularly. Fifth, it



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argues that plaintiffs have not properly pleaded a claim of unjust enrichment. Sixth,

Char-Broil argues that even if plaintiffs' claims survive these challenges, the Court

should strike their class allegations.

       To survive Char-Broil's motion to dismiss, the plaintiffs "must allege 'enough facts

to state a claim to relief that is plausible on its face.'" NewSpin Sports, LLC v. Arrow

Elecs., Inc., 910 F.3d 293, 299 (7th Cir. 2018) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007)). At the pleading stage, the Court must "accept all well-pleaded

facts in the complaint as true and draw all reasonable inferences in the plaintiff's favor."

Id. A plaintiff may not rely on labels and conclusory allegations; he or she must plead

"particularized factual content." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Doe v.

Columbia Coll. Chi., 933 F.3d 849, 854 (7th Cir. 2019). Moreover, "[i]f the claim rests

on allegations of deceptive conduct, then Rule 9(b) applies, and the plaintiff must plead

with particularity the circumstances constituting fraud. . . . Specifically, the complaint

must identify the who, what, when, where, and how of the alleged fraud." Vanzant v.

Hill's Pet Nutrition, Inc., 934 F.3d 730, 738 (7th Cir. 2019) (internal quotation marks

omitted).

A.     Primary jurisdiction

       Char-Broil argues that this Court should invoke the primary jurisdiction doctrine

because plaintiffs ask "this Court to assess the adequacy of the CPSC-approved

remedy," an inquiry that Char-Broil contends is better left to the CPSC. Def.'s. Mem. in

Support of Mot. to Dismiss at 4.

       Despite its name, the doctrine of "primary jurisdiction" is not actually a

jurisdictional bar. United States ex rel. Sheet Metal Workers Int'l Ass'n, Loc. Union 20 v.



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Horning Invs., LLC, 828 F.3d 587, 592 (7th Cir. 2016). Rather, it is "a permissive

doctrine that applies when resolving a claim requires the resolution of issues which,

under a regulatory scheme, have been placed within the special competence of an

administrative body. In such cases, a federal court may stay the proceeding to allow

the agency to take the first look at the case." Id. (emphasis added) (internal citations

and quotation marks omitted). The doctrine's aim is to balance the "proper relationships

between the courts and administrative agencies charged with particular regulatory

duties" and promotes consistency and uniformity. See Pennington v. Zionsolutions

LLC, 742 F.3d 715, 719-20 (7th Cir. 2014); Ryan v. Chemlawn Corp., 935 F.2d 129, 131

(7th Cir. 1991).

       "No fixed formula exists for applying the doctrine of primary jurisdiction. In every

case the question is whether the reasons for the existence of the doctrine are present

and whether the purposes it serves will be aided by its application in the particular

litigation." Ryan, 935 F.2d at 131. In determining whether to abstain under the primary

jurisdiction doctrine, courts consider:

       (a) whether the question at issue is within the conventional experience of judges;
       (b) whether the question at issue involves technical or policy issues within the
       agency's particular field of expertise; (c) whether a determination would involve the
       exercise of agency discretion; (d) the need for a consistent and uniform rule; (e)
       the likelihood of inconsistent rulings if not referred to the agency; (f) whether the
       issue has already been before the agency; (g) whether judicial economy is served
       by having the agency resolve the issue; and (h) whether the referral will result in
       substantial delay and added expense.

Gilmore v. Southwestern Bell Mobile Sys., L.L.C., 210 F.R.D. 212, 221 (N.D. Ill. 2001).

Courts considering these factors have declined to apply the primary jurisdiction doctrine

when plaintiffs are seeking economic damages or when the claims do not require an

administrative agency's expertise or rely on proving violations of federal law but rather

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involve state-law claims of the sort routinely resolved by courts. See e.g., Horning Invs.,

LLC, 828 F.3d at 592; Ryan, 935 F.2d at 132; In re Recalled Abbott Infant Formula

Prods. Liab. Litig., No. 22 C 1322, 2023 WL 3585759, at *7 (N.D. Ill. May 22, 2023)

(Kennelly, J.).

       The Court concludes that deferral to the CPSC is not called for here. Plaintiffs'

claims arise under state law; they do not allege any violations of the CPSA or of any

regulation promulgated by the CPSC or any other federal agency. Char-Broil contends

that plaintiffs' complaint is premised upon an assertion that the CPSC's remedy was

inadequate. That is not a fair characterization of the gist of plaintiffs' claims. Although

plaintiffs do contend that the recall procedure did not solve the problems with the

smokers, their core contention is not that the CPSC should have done more but rather

that Char-Broil misrepresented the devices as functioning when in fact they were

defective, in spite of and even after the recall process. Furthermore, although plaintiffs

do request equitable relief, their primary demand is economic damages, relief that a

court is well-suited to provide.

       Nor do any of the policy reasons behind the primary jurisdiction doctrine exist

here. This Court's rulings on plaintiff's claims, unrelated to CPSC policy and limited to

plaintiffs' experiences with Char-Broil, will not lead to inconsistency or lack of uniformity

because the Court need not apply any special expertise or knowledge better left to the

CPSC. Plaintiffs' claims, including fraud and contract claims, involve issues the courts

routinely address. And judicial economy will be served by providing plaintiffs the

opportunity to bring their damages claim to "the only forum that can provide them, the

court." Ryan, 935 F.2d at 132. Finally, because neither party points to any mechanism



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for asserting a claim on these grounds before the CPSC (Char-Broil simply points out

that plaintiffs have not reached out to CPSC but does not identify any existing process

that CPSC employs to address such claims in the first place), dismissing the case under

the primary jurisdiction doctrine will likely lead to substantial delay and added expense.

       The Court therefore declines to apply the doctrine of primary jurisdiction.

B.     Implied warranty claim

       Next, Char-Broil argues that its express written warranty covering the digital

smokers, which limits the duration of any implied warranty to one year from the date of

purchase, precludes the plaintiffs from asserting implied warranty claims. It argues that

because the disclaimer was in writing and conspicuous, the disclaimer was valid, and

the Court must therefore dismiss the implied warranty claim (count 1).

       Plaintiffs contend that the limitation is unconscionable. And as they contend,

when a party asserts an unconscionability challenge against a warranty disclaimer,

courts typically provide the parties with an opportunity to develop the relevant facts.

See 810 Ill. Comp. Stat. 5/2–302I(2) ("When it is claimed or appears to the court that the

contract or any clause thereof may be unconscionable the parties shall be afforded a

reasonable opportunity to present evidence as to its commercial setting, purpose and

effect to aid the court in making the determination."); see also Semitekol v. Monaco

Coach Corp., 582 F. Supp. 2d 1009, 1030 (N.D. Ill. 2008); Stavropoulos v. Hewlett-

Packard Co., No. 13 C 5084, 2014 WL 2609431, at *3 (N.D. Ill. June 9, 2014). That is

the appropriate course here.

       The Court will bypass for now the question of whether Char-Broil's written

disclaimer is sufficiently conspicuous, as it is more appropriate to address this point at



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the same time the Court addresses the claim of unconscionability.

C.     Illinois Consumer Fraud and Deceptive Practices Act (ICFA) claim

       Plaintiffs contend in count 3 that Char-Broil violated the ICFA by engaging in

deceptive and unfair conduct through selling defective and insufficiently tested digital

smoker grills that it represented were fully functioning and simple to use. First, they

allege that Char-Broil engaged in deceptive conduct by representing that the digital

smoker grills included functionality that they did not actually have. For example, they

contend that Char-Broil "advertised the Noticed Products as being able to safely smoke

food placed inside without further action needed by the consumer." Compl. ¶ 162. And

regarding the recall, plaintiffs contend that Char-Broil deceptively "notified consumers

that if they participated in the recall and installed the GFCI plug onto the smoker, the

smoker would be safe and useable [sic]." Id. ¶ 164. Second, plaintiffs assert that Char-

Broil engaged in unfair conduct by placing the smokers into the stream of commerce

and advertising them as safe to use without adequately testing or inspecting them. Id.

¶¶ 18, 51, 66-68, 165.

       To maintain a claim under the ICFA, "a plaintiff must plead and prove that the

defendant committed a deceptive or unfair act with the intent that others rely on the

deception, that the act occurred in the course of trade or commerce, and that it caused

actual damages." Vanzant v. Hill's Pet Nutrition, Inc., 934 F.3d 730, 736 (7th Cir. 2019).

Deceptive acts and unfair conduct are distinct categories of ICFA violations. A plaintiff

may premise an ICFA claim on one or both, but the standards for pleading each are

different. Id. at 738.

       A claim of deceptive conduct under the ICFA requires a plaintiff to "state with



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particularity the circumstances constituting fraud." Fed. R. Civ. P. 9(b). In other words,

the plaintiff must describe the "who, what, when, where, and how of the fraud." See

AnchorBank, FSB v. Hofer, 649 F.3d 610, 615 (7th Cir.2011); see also Camasta v. Jos.

A. Bank Clothiers, Inc., 761 F.3d 732, 737 (7th Cir. 2014). Still, "the precise level of

particularity required under Rule 9(b) depends upon the facts of the case." Camasta,

761 F.3d at 737.

       ICFA claims premised on unfair conduct are different. Rule 9(b) does not apply,

and a plaintiff need only meet the less-stringent pleading standard under Rule 8(a).

See Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Walgreen Co., 631 F.3d

436, 446 (7th Cir. 2011). That said, if a plaintiff premises a claim of unfair conduct on a

deceptive act, it may "sound[ ] in fraud" such that Rule 9(b)'s pleading requirements

apply. Borsellino v. Goldman Sachs Grp., Inc., 477 F.3d 502, 507 (7th Cir. 2007).

       Char-Broil characterizes plaintiffs' ICFA claim as asserting deceptive conduct,

and it contends that plaintiffs have not met the heightened pleading standard that

applies to claims involving deceptive acts. In particular, it argues that plaintiffs' claims

do not identify any specific misrepresentations or omissions upon which they claim to

have relied when purchasing the products.

       1.     Deceptive conduct

       Plaintiffs have adequately alleged that Char-Broil engaged in deceptive conduct.

In their complaint, plaintiffs include a list of advertisements and product descriptions that

Char-Broil posted on a variety of platforms, including Charbroil.com, Amazon.com,

Walmart.com, and Lowes.com. Compl. ¶¶ 35-47. These postings advertised the digital

smoker grills as offering a "set and forget" feature as well as "error free" and easy



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cooking. Plaintiffs summarize the representations as essentially promising "potential

consumers that Char-Broil Digital Electric Smokers would make it easy to cook food to

the customer’s desired internal temperature without the need for monitoring the [grill]."

Id. ¶ 47. Plaintiffs also contend that they bought the grills because they were looking for

safe and easy-to-use digital electric smokers and that they relied on Char-Broil's

representations promising these characteristics. Id. ¶¶ 75-79; 96-100.

       Char-Broil argues that plaintiffs have not identified the exact misrepresentation

on which they claim to have relied. This level of detail is not required. Rule 9(b)

requires the plaintiffs to "state the identity of the person making the misrepresentation,

the time, place, and content of the misrepresentation, and the method by which the

misrepresentation was communicated to the plaintiff," but plaintiffs are not required to

"provide the precise date, time, and location that [they] saw the advertisement or every

word that was included on it." Camasta, 761 F.3d at 737.

       Fares and the Winokurs have identified the misrepresentations that they contend

Char-Broil circulated. They have also stated that they read these descriptions before

purchasing the products. Fares specifically states she read the product description on

Amazon.com in addition to reading other marketing material, including the product's

packaging and label. Both plaintiffs highlight Char-Broil's allegedly false representation

that the grill would do the job without the need for constant monitoring ("set and forget"

feature) as the primary reason they purchased the product. Both plaintiffs also contend

that the products did not align with Char-Broil's representations because they caused

electric shocks and, after the repair, still remained defective and unsafe and required

constant monitoring. These allegations are sufficient to satisfy Rule 9(b).



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       Char-Broil also takes issue with plaintiffs' assertion that they relied on

defendant's misrepresentations, arguing that their allegations of reliance are too

general. Def.'s Mem. in Support of Mot. to Dismiss at 7. But "'reliance is not an

element of statutory consumer fraud.' Rather, it's the plaintiff's 'damage,' not his

purchase, that must occur 'as a result of' the deceptive act or practice . . . it was enough

. . . that the plaintiffs’ purchases 'occurred after the allegedly fraudulent statements.'"

Vanzant, 934 F.3d at 739 (internal citations omitted). Similarly, in this case, plaintiffs

have alleged that they purchased the digital smoker grills based on Char-Broil's claims

that the product offered a "set and forget" and easy cooking experience. The fact that

plaintiffs have not pinpointed a particular statement upon which they relied does not

defeat their claims, at least not on a motion to dismiss for failure to state a claim.

       2.     Unfair conduct

       Because plaintiffs have successfully pleaded an ICFA claim premised on

deceptive conduct, count 2 is not subject to dismissal. Thus, the Court need not

address plaintiffs' allegations of unfair conduct, which give rise to a claim under ICFA

even if the plaintiff does not allege deceptive conduct. The Court notes, however, that

Char-Broil waited until its reply to challenge the adequacy of a claim premised on unfair

conduct, even though the claim expressly included unfair conduct allegations. See,

e.g., Compl. ¶¶ 161, 165. As a result, Char-Broil likely forfeited this argument. Williams

v. Bd. of Educ. of City of Chi., 982 F.3d 495, 507 n.30 (7th Cir. 2020). That aside,

plaintiffs' allegations that Char-Broil put the products into the marketplace without

adequate testing are sufficient to state a claim for unfair conduct violative of ICFA.

       For these reasons, the Court overrules Char-Broil's request to dismiss plaintiffs'



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ICFA claim.

D.      Express warranty claims

        Char-Broil next argues that plaintiffs' express warranty claims (counts 5 and 8)

fail because they do not identify any express representations that Char-Broil made

about the digital electric smokers and because the company complied with its express

warranty. Neither of these arguments is persuasive.

        "To state a claim for breach of express warranty, plaintiffs must allege that (1) the

seller made an affirmation of fact or promise; (2) relating to the goods; (3) which was

part of the basis for the bargain; and (4) seller guaranteed that the goods would conform

to the affirmation or promise." Baldwin v. Star Sci., Inc., 78 F. Supp. 3d 724, 739 (N.D.

Ill. 2015) (quoting Indus. Hard Chrome, Ltd. v. Hetran, Inc., 64 F. Supp. 2d 741, 747

(N.D. Ill. 1999)). Additionally, "a party must have privity to the contract before bringing a

breach of express warranty claim." Id. (quoting In re McDonald's French Fries Litig.,

503 F.Supp.2d 953, 957 (N.D. Ill. 2007)).

        As explained earlier, plaintiffs allege, multiple times throughout the complaint,

that Char-Grill misrepresented the properties of digital smoker grills, including by stating

that they functioned easily without requiring additional monitoring by the user. It

allegedly advertised this feature as offering customers a "set and forget" experience.

Compl. ¶¶ 35, 47, 76-79, 91-92, 96-100.

        Char-Broil argues that "Plaintiffs do not identify any representations made about

the capacity of their smokers or why they are unable to use it at the capacity it was

allegedly advertised." Def.'s Mem. in Support of Mot. to Dismiss at 9. Char-Broil reads

the complaint too narrowly. Plaintiffs incorporate all prior allegations into Count 5 of



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their complaint. See Compl. ¶ 186. As the Court has discussed, these allegations do in

fact delineate the representations and defects that plaintiffs assert.

       In any event, at this stage in the proceedings, plaintiffs are not required to plead

extensive evidentiary detail to support their express warranty claim. See Baldwin, 78 F.

Supp. 3d at 740 ("While the court recognizes that the express warranty claim does not

need to meet Rule 9(b)'s heightened pleading standard, even under Rule 8(a), this

circuit has cautioned that 'some factual allegations will be so sketchy or implausible that

they fail to provide sufficient notice to defendants of the plaintiff's claim.'") (quoting

Brooks v. Ross, 578 F.3d 574, 581 (7th Cir.2009)). In fact, there are cases in which

plaintiffs have been found to adequately plead a claim for breach of express warranty

simply by attaching the warranty in question to their complaints. See Indus. Hard

Chrome, Ltd., 64 F. Supp. 2d at 747 (citing Bd. of Educ. of City of Chi. v. A, C & S, Inc.,

131 Ill. 2d 428, 460, 546 N.E.2d 580, 595 (1989)).

       Further, plaintiffs describe the misrepresentations upon which they claim they

relied in buying the digital smoker grills (i.e., offering safe and "hassle free" use); they

state that they would not have bought the grills in the absence of these representations;

and they explain that Char-Grill breached these affirmations because the grills in fact

did not perform as promised. Compl. ¶¶ 35-47, 76-79, 91-92, 96-100, 113-14. These

allegations, in which plaintiffs assert that the basis of the bargain depended on the

affirmations Char-Broil made about the product, are sufficient to make out an express

warranty claim. They are far from the mere "fuzzy, non-specific, alleged statements"

and legal conclusions Char-Broil says they are. Baldwin, 78 F. Supp. 3d at 740; see

Def.'s Mem. in Support of Mot. to Dismiss at 9.



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       Char-Broil further argues that plaintiffs' failure to comply with the terms of the

warranty should defeat the claim. It contends that to maintain an express warranty

claim, plaintiffs must allege that they made "a demand upon the defendant to perform

under the terms of the warranty . . . [and] compliance with the terms of the warranty by

the plaintiff." See Lambert v. Dollar Gen. Corp., No. 16 C 11319, 2017 WL 2619142, at

*2 (N.D. Ill. June 16, 2017); Velez v. RM Acquisition, LLC, 670 F. Supp. 3d 620, 639

(N.D. Ill. 2023). Char-Broil contends that the terms of the warranty required plaintiffs to

contact the company after receiving the defective repair kits because the warranty

stated that "repair or replacement" of defective parts is a customer's "exclusive remedy."

See Def.'s Mem. in Support of Mot. to Dismiss at 10; Def Ex. A. at 12. Char-Broil

argues that plaintiffs' failure to do so should defeat their express warranty claim.

       This is a skewed representation of the course of events alleged in the complaint.

Plaintiffs allege that after discovering defects in their digital smoker grills, they did in fact

reach out to Char-Broil by submitting their recall claims—and in the Winokurs' case, by

also opening a case file with Char-Broil's customer service team. Rather, their claimed

failure to contact Char-Broil did not take place until after they learned that the repair was

also defective. In other words, the allegations of the complaint reflect that plaintiffs did

comply with the terms of the warranty by communicating with Char-Broil via the recall

process.

       It is true that the warranty states that "[t]he manufacturer reserves the right to

require that defective parts be returned . . . for review and examination." Def.'s Ex. A at

12. But Char-Broil does not contend that it ever asked plaintiffs to return the defective

parts. And the warranty itself says nothing about what a customer must do when a



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defective warranty repair is provided. At most, Char-Broil's contentions about the

plaintiffs' obligations involve "fact-driven question[s] not appropriately resolved on a

motion to dismiss." Velez, 670 F. Supp. 3d at 635-36 ("Under the UCC, an exclusive

remedy may be set aside if it fails of its essential purpose," which occurs "when a

contract's primary remedy is repair or replacement of defective parts, and this remedy

fails to put the goods in their warranted condition.")

Char-Broil is not entitled to dismissal of plaintiffs' express warranty claims.

E.      Unjust enrichment claim

        The Seventh Circuit has stated that under Illinois law, "there is no stand-alone

claim for unjust enrichment." Benson v. Fannie May Confections Brands, Inc., 944 F.3d

639, 648 (7th Cir. 2019). Rather, a claim for unjust enrichment typically depends upon

underlying allegations of unlawful or improper conduct, and thus it is "tied to the fate" of

those underlying allegations. See id.; see also, e.g., Cleary v. Philip Morris Inc., 656

F.3d 511, 517 (7th Cir. 2011) ("[I]f an unjust enrichment claim rests on the same

improper conduct alleged in another claim, then the unjust enrichment claim will be tied

to this related claim—and, of course, unjust enrichment will stand or fall with the related

claim.") .

        In this case, plaintiffs' unjust enrichment claim appears to be tied to their ICFA

(and other consumer-statute) claims. Because these claims are sufficient to avoid

dismissal, the unjust enrichment claim likewise survives if adequately pleaded. "To

state a claim for unjust enrichment under Illinois law, a plaintiff must allege that 'the

defendant has unjustly retained a benefit to the plaintiff's detriment and that [the]

defendant's retention of the benefit violates the fundamental principles of justice, equity,



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and good conscience.'" Gociman v. Loyola Univ. of Chi., 41 F.4th 873, 886 (7th Cir.

2022) (internal citation omitted). Plaintiffs have alleged that they paid for a product that

included a safety defect and did not perform to the defendant's representations of the

product. That gives rise to a plausible inference that Char-Broil unjustly retained a

benefit based on the claimed wrongdoing. This is sufficient to state a claim for unjust

enrichment.

F.      Motion to strike class allegations

        Lastly, Char-Broil moves to strike plaintiffs' class allegations, arguing that

plaintiffs cannot satisfy the requirements of Rule 23(a), that this Court does not have

jurisdiction over claims by non-Illinois residents who purchased their Char-Broil products

outside of Illinois, and that plaintiffs lack standing to sue on behalf of non-Illinois

classes. These arguments are premature. Plaintiffs have yet to file a motion for class

certification, and thus a contention that they will seek to certify a class that is overly

broad as a matter of law is speculative. "The Supreme Court has made clear that a

class may only be certified if the trial court is satisfied, after a rigorous analysis, that the

prerequisites of Rule 23(a) have been satisfied, and actual, not presumed, conformance

with Rule 23(a) remains . . . indispensable." Davis v. Hutchins, 321 F.3d 641, 649 (7th

Cir. 2003) (internal quotation marks and citation omitted). Char-Broil's preemptive

attack on class certification is premature. See, e.g., Boatwright v. Walgreen Co., No. 10

C 3902, 2011 WL 843898, at *3 (N.D. Ill. Mar. 4, 2011) (citing to In re Sony PS3 Other

OS Litig., No. C 10–1811 RS, 2011 WL 672637, at *6 (N.D. Cal. Feb.17, 2011); Martin

v. Ford Motor Co., No. 10–2203, 2011 WL 570021, at *6–7 (E.D. Pa. Feb.15, 2011);

Lyons v. Coxcom, Inc., 718 F.Supp.2d 1232, 1236 (S.D. Cal.2009); Romano v.



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Motorola, Inc., No. 07–Civ–60517, 2007 WL 4199781, at *3 (S.D. Fla. Nov. 26, 2007)).

This case is not one where the Court "need not delay a ruling on certification" because it

is apparent that additional proceedings will "be useful in resolving the class

determination." Kasalo v. Harris & Harris, Ltd., 656 F.3d 557, 563 (7th Cir. 2011).

                                          Conclusion

       For the foregoing reasons, the Court denies defendant's motion to dismiss for

failure to state a claim, including its request to strike plaintiffs' class allegations [dkt. no.

39]. Defendant is directed to answer the amended complaint by May 22, 2025. At

tomorrow's scheduled status hearing, the parties are to be prepared to propose a

discovery and pretrial schedule for entry by the Court.

Date: April 24, 2025

                                                    ________________________________
                                                         MATTHEW F. KENNELLY
                                                         United States District Judge




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